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Attorney for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                    )   Case No. 3:21-CR-00038-SLG
                                               )
                          Plaintiff,           )
                                               )
          v.                                   )
                                               )
  MICHAEL GLENN WHITMORE,                      )
                                               )
                          Defendant.           )
                                               )

                         DECLARATION OF LEONARD TORRES

       Leonard Torres, a Federal Bureau of Investigation (FBI) Trained Field Officer

(TFO) with the Anchorage Police Department (APD), declares as follows:

   1. I am submitting this declaration because I have been asked by the United States

       Attorney’s Office to provide information, in response to a motion to suppress filed

       in this case (Docket 48), relating to an audio recorded interview that I had

       conducted with Michael Whitmore on March 10, 2021 (filed at Dockets 48-1 and



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   49-1 under seal by his attorney).

2. I make this declaration based on my personal knowledge.

3. I have been an APD Officer since June of 2000 and have been trained as a TFO

   investigating human trafficking and child exploitation crimes for nearly 4 years, as

   of January 2022. I have completed the following specialized trainings:

      a. Multiple forensic style interview trainings, both nationally and local,

          pertaining to human trafficking, child exploitation, and sex crimes;

      b. Cybercrime investigations pertaining to child exploitation crimes; and

   I am also an instructor for the APD police academy, training others in interviews

   and interrogations.

4. On March 10, 2021, I accompanied FBI Special Agent Marissa Taggart to conduct

   an audio recorded interview with Michael Whitmore. This interview took place in

   my police vehicle.

5. Prior to interviewing Michael Whitmore, I read to him his Miranda rights directly

   from the APD issued Miranda Warning card, in its entirety, that included the

   following:

      a. You have the right to remain silent.

      b. Anything you say can and will be used against you in a court of law.

      c. You have the right to talk to a lawyer ad have him present with you while

          you are being questioned.

      d. If you cannot afford to hire a lawyer, one will be appointed to represent you


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              before any questioning, if you wish.

          e. You can decide at any time to exercise these rights and now answer any

              questions or make any statements.

   6. Following advising Michael Whitmore of the above rights, I then read the waiver

       questions on the APD Miranda Card to him in its entirety:

          a. Do you understand each of these rights I have explained to you?

          b. Having these rights in mind, do you wish to talk to us now?

       In response to both questions, Michael Whitmore verbally stated that he

       understood his rights and that he was willing to speak with us.

   7. I then determined that the audio recorder had not captured the reading of the

       Miranda rights after beginning the interview. Once the recorder was operational, I

       confirmed with Michael Whitmore that I had indeed read him his Miranda rights.

       I confirmed that he indeed stated he was willing to talk to the agents and that he

       understood his rights.

   8. Upon confirming these topics with the recorder now operating, I resumed the

       interview of Michael Whitmore.

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on December 3, 2021, in Anchorage, Alaska.

                                                  s/ Leonard Torres
                                                  LEONARD TORRES
                                                  Officer (TFO)
                                                  Anchorage Police Department



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